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                             UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA


Nelson L. Bruce, Propria Persona
      ·sui Juris
         Plaintiff                                                      2:18-cv-00332-RMG-MGB

         -vs:.
NIAGARA CAPITAL ASSOCIATES INC.,                                             COMPLAINT
Parties both known aµd.unknown, ect. al.                                    JURY DEMAND                    U1


                 Defendant( s)


                                               .COMPLAINT

                                                           '
Plaintiff, Nelson L. Bruce, indiv!dually, hereby sues Defenaant(s) for violations of the Telephone

Consum~r Protection ~ct (TCPA) 47 USC§ 227(b)(1 ), 47 USC§ 227(b)(1 )(B}, 47 USC§ 227(b)(1 )(A)(iii).

                                     PRELIMINARY STATEMENT

    1) This is an action for Statutory Damages as relief brought by Plaintiff against' Defendant(s) for

         violations of the Telephone Consumer Protection Act (TCPA}, which prohibits the use of

         automatic teleph'one dialing systems (ATOS) and the use of artificial or prerecorded voice to

         deliver a mes~age to a resideritial phone or to call or text cellular phones without the "prior

         express consent" of the called party to make such calls. See "47 USC § 227(b)(1 ), 47 USC §

         227(b)(1)(B), 47 USC§ 227(b)(1)(A)(iii).

    2)   Upon belief and information, Plaintiff contends that many of these practices are widespre~d for

         some or all of,~he Defendant(s). Plaintiff ·intends to propound discovery from Defendant(s)

         identifying phope records from J.§3nuary 1, 2015 to January 31, 2016 because Defendant(s) never

         had consent from Plaintiff to call his· cellular phone, or leave artificial prerecorded voice messages

         and the Plaintiff wants to discover who thf: Defendant(s) service provider is where the

         Defendant(s) phone number is registered under which was used to dial the Plaintiff and these

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     other individuals who have suffered similar violations. Upon discovery, Plaintiff will ?L:Jbpoena
                      '
     Defendant(s) p~one servi~e provider to identify what capabilities the numbers(s) used to dial the

     Plaintiff's cellul~r phone and/or any other phone has if Defendant(s) refuses to provide this
                      '
     information as requested during discovery.

3)   Plaintiff contends that the Defendant(s) have violated such laws by repeatedly harassing Plaintiff
                    ·:,
     in attempts to contact some other in~ividual regarding a returned check.

                                   JURISDICTION AND VENUE

4) Jurisdiction of this Court arises under 47 U.S.C. §227(b}(3}, and supplemental jurisdiction exists

     for the state law claims pursuant to 28 U.S.C. §1367.
                               1




5) Venue is proper pursuant to 28 U.S.C. §1391(b). Venue in this Dist~ict is proper in"that the

     Plaintiff.is domiciled here, the Defendant(s) transact business here, and the conduct complained

     of occurred here.

6) This is an action for damages which exceed $10,000.

                                                   PARTIES

7)   Plaintiff, Nelson L. Bruce, is a natural man of the age of majority and domiciled in the State of

     South Carolina.      _

8)   Upon informati.on and belief NIA~ARA CAPITAL ASSOCIATES, INC. (Defendant), is a Domestic
                                                                         ,
     corporation, registered in the State of New York doing business in South Carolina.

                                     FACTUAL ALLEGATIONS

9)   From June 1, 2015 thru July 31, 2015, Defendant(s) violatedthe TCPA by using an automatic

     telephone diali ng system to call Plaintiff's cellular phone.
                     1

10) Plaintiff has ~~ver done business with or has given Defendant(s).consent or express permission

     to call Plaintiffs cellular phone.

11) Plaintiff spoke .with members of the Defendant Company twice, once with John Jacob and twice

     with another individual of the company who both assured Plaintiff that they both would remove


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   · Plaintiffs name and number off of their list as a reference for the individual that they were

     attempting to reach regarding a debt. Since then Niagara Ca~ital Associates continued to vi~late

     47 U.S.C. § 227 From June 1, 2015 thru July 31, 2015.
                   '
 12) Defendant(s) violated the TCPA by calling Plaintiffs phone line 7 times that he has recorded

     which include cellul_ar phones and other phones which rang at the same date and time using an

     auto dialer with no prior express permission given by Plaintiff:

 13) Plaintiff has screen shots of some of the calls stored in his cell phone identifying the phone

     number used to call Plaintiff, the date and time of the calls. Can be provided as Exhibit - A

     Evidence upon request.

 14) Plaintiff has multiple voicemail recordings with automated messages from the Defendant(s) which

     verifies that the Defendant(s) used an automated dialing service and has the capabilities of an
                         '
     automated dialing system which can be provided and played during trial and used as valid

     evidence which will also show that the calls cafne from Defendant(s) phone number 716-402-
                       r ;   (

     1123.

 15) Plaintiff has be'en on the "National Do not Call List" since June 29, 2012, Evidence of this can .be

     provided as Exhibit- B Evidence upon request.

                                                  COUNTI

                       VIOLATIONS OF THE TELEPHONE CONSUMER

PROTECTION ACT 47 U.S;C. §227{b}{l}, {b}O}{B}, {b}{l}{A}{iii} BY DEFENDANT{S}
               '         '
 16) Plaintiff alleges and incorporates th.e information in paragraphs 1 through 15.

 17) Defendant(s) has demonstrated willful or knowing non-compliance with 47 U.S.C. §227(b)(1)(A),

     and 47 U.S.C. §227(b)(1 )(B) by using an artificial or pre-recorded message and using an

     automatic telephone dialing system (ATDS) to call the Plaintiffs number, which is assigned to a

     cellular te)ephone service or other phone residential service.




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    18) Defendant(s) hfs committed 7 separate viol.ations of 4 7 U.S.C. §227(b)(1 )(A) that Plaintiff knows

        of and Plaintiff is entitled to damages of $1,500 per violation starting June 1, 2015 pursuant to 47

        U.S.C. §227(b)(3)(C).

    19) Defendant(s) has demonstrated willful or knowing non-compliance with 47 U.S.C. §227(b)(1)(A}

        and has never had consent to contact the Plaintiff and are noyv subject to treble damages

        pursuant to 47 U.S.C. §227(b}(3)(B) and 47 U.S.C. §227(b)(3)(C) as they were intentional.
                                                                  '
        Plaintiff answe;ed 1 or 2 of the calls to see why the Defendant was calling the Plaintiff.
                        '
    20) Plaintiff sent out two notices of an intent to sue to Defendant to try to settle this matter outside of

        court, one with a certified tracking number of 7008 1140 0000 5363 1645 of which was returned

        to Plaintiff as "Not Deliverable as Addressed," which is the address·located on the NY Secretary
                        l

        of State files for the Defendants contact information. The second n·otice was sent certified with a

        tracking' number of 7015 1730 0001 5397 2911 ana received by Defendant on Ja~uary 19, 2016
                            .     .,
        giving the Defendann 0 days to respond and settle this matter at hand before seeking my remedy

        ·in a court of law. As of the date of this filing there has been no prior response from Defendant

        regarding this documents sent befor_ehand. Can be provided as Exhibit- C Evidence upon

        request.

        WHEREFORE, Pl~intiff demands judgment for damages against the Defendant(s) for actual or

statutory damages, court fees and costs.

                                       , DEMAND FOR JURY TRIAL

Plaintiff hereby demands ·a trial by jury of all issues so triable as a matter of law.

Respectfully submitted, this___§_ of February, 2018.

Respectfully Submitted,
                                                                     "W~ejudice"
                                                                      -n
                                                                      I
                                                                                   'rf. ~ kS-'µf 8
                                                                     Nelson L. Bruce, Propria Persona, Sui Juris •
                                                                     "All Rights Explicitly Reserved and Retained"
                                                                     U.C.C. 1-207/1-308, 1-103
                                                                     c/o 144 Pavilion Street
                                                                     Summerville, South Carolina 29483
                                                                     Phone: 843-437-7901

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                                        .   ~-~--   -   -   ~- -   ______....__~------
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                                                     AFFIDAVIT

 STATE bF South Carolina                  )
                                          )
 COUNTY 'OF Dorchester                    )

 I, Nelson L Bruce, being domiciled at 144 Pavilion Street, Summerville, SC 29483:

 1. Being· a Citizen oft.he State of South Carolina and;
 2. Being of the age of Majority, and;
 3. Filed the attached Petition for actual or statutory damages and court fees and costs in the District Court
 of South Carolina, says;                                                 ·
 4. I do hereby affirm that the allegations contained therein are true aµd correct to the best of my
 knowledge and belief. '. ·
                                                           FURTHER AFFIANT SAYETH NOT.

                                                                  "Without Prejudice"



                                                                  Nelson L Bruce, Plaintiff, Propria Persona, Sui Juris
                                                                  "All Rights Explicitly Reserved and Retained"
                                                                  u.c.c. 1-207/1-308, 1-103
                                                                  Address: c/o 144 Pavilion Street, Summerville, SC 29483
                                                                  Phone: 843-437-7901




                                                     NOTORIAL
 STATE OF South Carolina                  )
                                          )
 COUNTY OF t)O([VIUte/                    )

 On thiso;y the    _5__    of February, 2018, before me personally appeared Ne!son L Bruce, being iden!ified by a
 valid South Carolina State Driver's License did take an oath and states that he has read the Petition for Statutory
 relief, and that the conte~ts are accurate to tlie best of his knowledge and belief, and signect'the documents before


J1~
 Notary Public Signature:
                                              2-s-1i
                                                Date:
                                                                               .
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 Notary Public Print:
                                              1-~s/1:r
                                                Date:

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